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                    IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

  CARA BARBER, ET AL.,           )       CIVIL NO. 14-00217 HG-RLP
                                 )
                 Plaintiffs,     )       ORDER GRANTING DEFENDANTS OHANA
                                 )       MILITARY COMMUNITIES, LLC AND
            vs.                  )       FOREST CITY RESIDENTIAL
                                 )       MANAGEMENT LLC’S MOTION TO STAY
  OHANA MILITARY COMMUNITIES,    )       PLAINTIFF’S MOTION FOR
  LLC, ET AL.,                   )       ATTORNEY’S FEES AND COSTS
                                 )
                 Defendants.     )
  ______________________________ )

       ORDER GRANTING DEFENDANTS OHANA MILITARY COMMUNITIES, LLC
         AND FOREST CITY RESIDENTIAL MANAGEMENT LLC’S MOTION TO
          STAY PLAINTIFF’S MOTION FOR ATTORNEY’S FEES AND COSTS

              Before the Court is Defendants Ohana Military

  Communities, LLC and Forest City Residential Management LLC’s

  Motion to Stay Plaintiff’s Motion for Attorney's Fees and Costs,

  filed on January 31, 2018 (“Motion”).         ECF No. 423.    The Court

  finds the Motion suitable for disposition without a hearing

  pursuant to Rules 7.2(d) of the Local Rules of Practice of the

  United States District Court for the District of Hawaii.            After

  careful consideration of the Motion and the record in this

  matter, the Court GRANTS the Motion.

                                  BACKGROUND

              Plaintiffs filed this action in April 2014.           ECF No. 1.

  After nearly two years of litigation, the parties entered into a

  settlement agreement.      ECF No. 271.    Less than four months after

  entering in the settlement agreement, Defendants filed a motion

  for preliminary injunction seeking to enjoin Plaintiff Barber
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  from violating the non-disparagement clause and the

  confidentiality provision in the settlement agreement.            ECF No.

  278.   On August 26, 2016, the court issued an order granting the

  motion for preliminary injunction with respect to the

  confidentiality provision.       ECF No. 341.    The court stated that

  it would proceed at a later date regarding the non-disparagement

  clause.    Id.    Before the court ruled on the non-disparagement

  provision, Plaintiff Barber filed an appeal of the August 26,

  2016 Order.      ECF No. 368.

              On August 18, 2017, the Ninth Circuit reversed, in

  part, the August 26, 2016 Order, and remanded the case.            See ECF

  Nos. 392, 393.     Following further motions practice, the Court

  issued an Order denying Defendants’ preliminary injunction motion

  ruling that the Ninth Circuit’s decision applied to the

  confidentiality provision and the non-disparagement clause on

  January 18, 2018.     ECF No. 412.

              On January 25, 2018, Defendants filed a Notice of

  Appeal.    ECF No. 414.    The next day, Plaintiff Barber’s attorneys

  filed a motion for attorney’s fees and costs in connection with

  the preliminary injunction motion seeking $341,319.24 in

  attorneys’ fees and $8,046.57 in costs.         ECF No. 415.      The

  present Motion followed.

                                  DISCUSSION

              Given the pendency of the appeal before the Ninth


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  Circuit, the Court finds that judicial economy will be served by

  holding in abeyance the attorneys’ fees motion and staying its

  disposition until the appeal is resolved.         Generally, a court has

  broad discretion to stay proceedings incident to the court’s

  power to control its own docket.         Clinton v. Jones, 520 U.S. 681,

  706 (1997) (citing Landis v. N. Am. Co., 299 U.S. 248, 254

  (1936)).    The court must weigh the competing interests affected

  in the granting or denying of a request for stay.           CMAX, Inc. v.

  Hall, 300 F.2d 265, 268 (9th Cir. 1962).         These interests

  include: (1) the possible damage which may result from the

  granting of a stay; (2) the hardship or inequity which a party

  may suffer in being required to go forward; and (3) the orderly

  course of justice measured in terms of the simplifying or

  complicating of the issues, proof, and questions of law which

  could be expected to result from a stay.         Id. (citing Landis, 299

  U.S. at 254-55); accord Lockyer v. Mirant Corp., 398 F.3d 1098,

  1112 (9th Cir. 2005) (weighing the balance of hardship between

  the parties and the prospect of narrowing the factual and legal

  issues in the other proceeding in deciding the motion for stay).

  The party seeking the stay bears the burden of proving that such

  a discretionary stay is warranted.        Clinton v. Jones, 520 U.S.

  681, 708 (1997).

              Here, after reviewing Plaintiff’s Motion for Attorney’s

  Fees, estimating the time needed to complete the necessary


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  careful inspection of the written submissions related to the

  attorney’s fees motion, perform legal research and draft orders,

  and weighing the interests of the litigants and the public

  interest in promoting judicial economy and the orderly

  administration of justice, the Court concludes that a stay of the

  attorney’s fees motion is both appropriate and necessary.

  Disposition of the attorney’s fees motion may lead to the filing

  of additional related motions in the future, such as motions for

  reconsideration and/or objections to the findings and

  recommendation, which would necessarily require the expenditure

  of additional judicial resources.        Because Plaintiff’s attorney’s

  fees motion is predicated on an order that is currently on

  appeal, the Court and the parties’ interests would best be served

  by waiting for the Ninth Circuit’s decision before determining if

  and/or what amount of attorney’s fees should be awarded.

  Accordingly, the Court STAYS AND HOLDS IN ABEYANCE the subject

  motion for attorney’s fees and costs.         For administrative

  purposes, Plaintiff’s motion for attorney’s fees shall be

  terminated, and may be reactivated at the request of the parties

  upon the lifting of the stay after the Ninth Circuit has issued

  its decision and mandate.

                                  CONCLUSION

              Based on the foregoing, the Court GRANTS Defendants

  Ohana Military Communities, LLC and Forest City Residential


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  Management LLC’s Motion to Stay Plaintiff’s Motion for Attorney’s

  Fees and Costs.     For administrative purposes, Plaintiff’s Motion

  for Attorney’s Fees and Costs shall be terminated, and may be

  reactivated at the request of the parties upon the lifting of the

  stay after the Ninth Circuit has issued its decision and mandate.

              IT IS SO ORDERED.

              DATED AT HONOLULU, HAWAII, FEBRUARY 6, 2018.




                                     _____________________________
                                     Richard L. Puglisi
                                     United States Magistrate Judge



  BARBER, ET AL. v. OHANA MILITARY COMMUNITIES, LLC, ET AL.; CIVIL NO.
  14-00217 HG-RLP; ORDER GRANTING DEFENDANTS OHANA MILITARY COMMUNITIES,
  LLC AND FOREST CITY RESIDENTIAL MANAGEMENT LLC’S MOTION TO STAY
  PLAINTIFF’S MOTION FOR ATTORNEY’S FEES AND COSTS




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